                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                 )                     Chapter 11
                                       )
RMH Franchise Holdings, Inc., et al.,1 )                     Case No. 18-11092 (BLS)
                                       )
                   Debtors.            )                     Jointly Administered
                                       )
__________________________________ )
                                       )
DINE BRANDS GLOBAL, INC.,              )
APPLEBEE’S RESTAURANTS LLC,            )
and APPLEBEE’S FRANCHISOR LLC          )                     Adv. Pro. No. _______________
                                       )
                   Plaintiffs,         )
                                       )
                   v.                  )
                                       )
RMH FRANCHISE HOLDINGS, INC.,          )
NULNK, INC., RMH ILLINOIS, LLC,        )
RMH FRANCHISE CORP., and               )
CONTEX RESTAURANTS, INC.,              )
                                       )
                   Defendants.         )



                                                COMPLAINT

         The above-named plaintiffs (collectively, “Applebee’s”) hereby file this complaint

(“Complaint”) against the above-named defendants (collectively, the “Defendants” or the

“Debtors”)2 and seek the following relief:


1
    The Defendants and the last four digits of their respective taxpayer identification numbers are as follows: RMH
    Franchise Holdings, Inc. (7150); NuLnk, Inc. (7381); RMH Illinois, LLC (0696); RMH Franchise Corp. (1807);
    Contex Restaurants, Inc. (0710). The headquarters for the above-captioned Defendants is located at One
    Concourse Parkway, N.E., Suite 600, Atlanta, GA 30328.

2
    Applebee’s reserves its rights to assert any monetary claims and/or other rights at a later date. This includes
    claims and rights against the non-debtor guarantor, ACON Franchise Holdings, LLC. Applebee’s also
    continues to accrue an administrative priority claim based on the Defendants’ continued willful post-petition
    infringement of Applebee’s trademarks. Applebee’s further reserves its right to assert an administrative claim
    under 11 U.S.C. § 503 based on the Defendants’ post-petition trademark infringement and other post-petition
    grounds and benefits.
DOCS_DE:219666.1 18037/001
        a.       A Declaratory Judgment that the Franchise Agreements (as defined herein) were
                 terminated as of April 27, 2018, prior to the date the Defendants filed chapter 11
                 bankruptcy, and, thus, are not property of the Defendants’ bankruptcy estates;

        b.       A Declaratory Judgment that Applebee’s properly and timely exercised its right to
                 take control of the requested RMH Restaurants (defined below) located in Texas
                 and Arizona, including by filing this Complaint;

        c.       A Declaratory Judgment that Applebee’s properly and timely exercised its right to
                 take control of the requested Remaining RMH Restaurants (defined below),
                 including by filing this Complaint; and

        d.       A Declaratory Judgment that recognizes Applebee’s right to enforce its post-
                 termination rights under the Franchise Agreements, which Applebee’s proposes to
                 pursue pursuant to its pending Motion to Lift Stay, including, without limitation,
                 to require de-affiliation of all locations closed to date or which may be closed in
                 the future.

                                       Jurisdiction and Venue

        1.       This Court has subject-matter jurisdiction over this adversary proceeding pursuant

to 28 U.S.C. §§ 157 and 1334.          The above-captioned bankruptcy cases (the “Cases”) are

currently pending before this Court.

        2.       Venue of this adversary proceeding is proper in this district pursuant to 28 U.S.C.

§ 1408 and 1409(a).

        3.       Certain aspects of this adversary proceeding are core matters pursuant to 28

U.S.C. § 157 or Bankruptcy Rule 7001 and other aspects are non-core matters. This action arises

under the Bankruptcy Code, involves alleged property of the applicable Debtors’ estates, and

arises in and is related to the applicable Debtor’s chapter 11 case. Applebee's reserves all rights

as to non-core matters including any non-core matters which may be raised in response to this

Adversary Complaint or otherwise.

                                               Parties

        4.       Plaintiff Dine Brands Global Inc. (“Dine Brands”) is a Delaware corporation with

its principal place of business in Glendale, California.

                                                 -2-
DOCS_DE:219666.1 18037/001
        5.       Applebee’s Restaurants LLC (“Applebee’s Restaurants”) is a Delaware limited

liability company with its principal place of business in Glendale, California.

        6.       Applebee’s Franchisor LLC (“Applebee’s Franchisor”) is a Delaware limited

liability company with its principal place of business in Glendale, California.

        7.       The ultimate parent company of Applebee’s Restaurants and Applebee’s

Franchisor is Dine Brands.

        8.       Defendants RMH Franchise Holdings, Inc., NuLnk, Inc. and RMH Illinois, LLC

are Delaware corporations.        Defendant RMH Franchise Corp. is a Kansas corporation.

Defendant Contex Restaurants, Inc. is a Texas corporation. The headquarters of all Defendants

is located at One Concourse Parkway, N.E., Suite 600, Atlanta, GA 30328.

        9.       Some of the Defendants were either franchisees, or guarantors of the financial

obligations of franchisees, for the Applebee’s restaurants as listed and noted in Exhibit 1 hereto

(the “RMH Restaurants”).

        10.      Applebee’s is a franchisor of a nationally recognized chain of restaurants, and

Applebee’s brand and image are key to the overall value and success of the Applebee’s franchise

system. Applebee’s brand and image are based principally on the use of certain trademarks (the

“Marks”) that Applebee’s owns and licenses to authorized franchisees.

        11.      Applebee’s spends substantial sums for advertising and promotion of the Marks.

The Marks are distinctive, widely recognized, and engender a substantial amount of goodwill

and consumer association.

                      Factual Allegations Applicable To All Counts For Relief

        The Franchise Agreements

        12.      The Defendants’ license to use the Marks and right to operate the RMH

Restaurants was governed by individual franchise agreements (the “Franchise Agreements”) with
                                                -3-
DOCS_DE:219666.1 18037/001
Applebee’s for each of the RMH Restaurants. A Form Franchise Agreement is attached hereto

as Exhibit 2. The Franchise Agreements required the Defendants to, among other things, pay

certain royalties and other fees to Applebee’s as consideration for the use of the Marks. A failure

to pay such fees and royalties was expressly considered a material breach under the Franchise

Agreements and entitled Applebee’s to terminate the Franchise Agreements “immediately upon

written notice to [the Defendants].” (Exhibit 2, Form Franchise Agreement, Section 19.1(a).)

        13.      In addition to outlining Applebee’s right to terminate for non-payment of royalties

and other fees, the Franchise Agreements also outlined in detail the Defendants’ duties and

obligations upon termination and the post-termination rights of Applebee’s. Specifically, the

Franchise Agreements provided for the following upon termination:

             Ceasing Use of the Marks: “[The Defendants] shall immediately discontinue use of
              the System and its use of the Marks and other identifying characteristics.”

             De-Identification of the RMH Restaurants: “[I]f the Restaurant premises are owned
              by [the Defendants] or leased from a third party, [the Defendants] shall, upon demand
              by [Applebee’s], remove (at [the Defendants’] expense) the Marks, sign facia, and
              other identifying characteristics from all premises, and paint all premises and other
              improvements maintained pursuant to this Agreement a design and color which is
              basically different from [Applebee’s] authorized design and color.”

             Ceasing Operation of the RMH Restaurants: “[The Defendants] shall not thereafter
              use the Marks or any other trademark, trade name, service mark, logo, insignia,
              slogan, emblem, symbol, design or other identifying characteristic that is in any way
              associated with [Applebee’s], or use any food or proprietary menu item, recipe or
              method of food preparation or operate or do business under any name or in any
              manner that might tend to give the public the impression that [the Defendants are] or
              [were] a licensee or franchisee of, or otherwise associated with, [Applebee’s] or its
              affiliated companies.”

(See Exhibit 2, Form Franchise Agreement, Section 19.2(a)-(c).)

        14.      In the event of termination of the Franchise Agreements where the Defendants

leased the real-estate for the restaurants—which was the situation for nearly all of the RMH

Restaurants—the Franchise Agreements afforded Applebee’s important rights wherein

                                                 -4-
DOCS_DE:219666.1 18037/001
Applebee’s could step into the shoes of the Defendants on the leases and purchase the RMH

Restaurants’ equipment, furnishings, supplies, and other products. Specifically, the Franchise

Agreements provided as follows:

             Requirement that leases be assignable to Applebee’s: “If the Restaurant premises are
              leased by [the Defendants] from a third party, such lease must allow [the Defendants]
              to assign the lease to [Applebee’s].”

             Right to Assignment of the Leases and Surrender of the Premises: “Upon termination
              of this Agreement for any reason, [Applebee’s] has the right, exercisable upon written
              notice to [the Defendants] within thirty (30) days after termination is effective, to
              require [the Defendants] to assign all [the Defendants’] rights and obligations under
              the lease to [Applebee’s] and to immediately surrender possession of the premises,
              including all fixtures and leasehold improvements, to [Applebee’s].”

             Right to Purchase Equipment, Furnishings, and Supplies: “If [Applebee’s] exercises
              that right [of assignment and surrender of the premises], it has an additional right, to
              be exercised within thirty (30) days after taking possession of the premises, to
              purchase all of [the Defendants] equipment, signs, decor items, furnishings, supplies
              and other products and materials at their then-fair market value. If the parties cannot
              agree on the price, the price will be determined in the matter set forth in connection
              with Franchisee-owned Restaurant premises [i.e., by a panel of three appraisers with
              each party choosing one appraiser and the two appraisers choosing the third.]”

(See Exhibit 2, Form Franchise Agreement, Section 19.4(f).)

        15.      Further, pursuant to Applebee’s right under the Franchise Agreements to require

assignment of any real-estate lease for the RMH Restaurants, there is a form rider which is

attached to and made a part of the Defendants’ real estate leases that acknowledges and provides

for RMH’s right to sublet or assign the premises specifically to Applebee’s or its affiliates. (See

Form of Applebee’s Restaurant Franchisee Lease Rider, attached as Exhibit 3 hereto.) In the

rider, the Defendants and the landlords for the RMH Restaurants specifically agreed that

Applebee’s is an intended third-party beneficiary of the rider and has the right to enforce the

terms of the rider as if it was a party to it. (See Exhibit 3, Form of Applebee’s Restaurant

Franchisee Lease Rider, ¶ 10.)



                                                  -5-
DOCS_DE:219666.1 18037/001
        16.       The Franchise Agreements afford Applebee’s with near-absolute discretion in its

operation of the franchise system and foreclose any claim by or liability to the Defendants based

on Applebee’s exercise of that discretion:

                 The Franchise Agreement and the parties’ relationship “grants [Applebee’s] the
                  discretion to make decisions, take actions and/or refrain from taking actions not
                  inconsistent with Franchisee’s explicit rights and obligations hereunder that may
                  affect favorably or adversely Franchisee’s interests”;

                 “[Applebee’s] will use its business judgment in exercising such discretion based
                  on [Applebee’s] assessment of its interests and the System, balancing those
                  interests with or against the interests of the operators of Restaurants generally
                  (including Franchisor, its affiliates and other franchisees) and specifically without
                  considering the individual interests of any particular franchisee”;

                 “[Applebee’s] will have no liability to Franchisee for the exercise of its discretion
                  in this manner”;

                 “even if [Applebee’s] has numerous motives for a particular action or decision, so
                  long as at least one motive is a reasonable business justification for such action or
                  decision, no trier of fact in any legal action shall substitute its judgment for
                  [Applebee’s] judgment so exercised, and such action or decision will not be
                  subject to challenge for abuse of discretion.”

(See Exhibit 2, Form Franchise Agreement, Section 25.7 (emphasis added).)

        17.       The Franchise Agreements “and the documents referred to [therein] constitute the

entire agreement between the parties, superseding and canceling any and all prior and

contemporaneous agreements, understandings, representations, inducements and statements, oral

or written, of the parties in connection with the subject matter [thereof].” (See Exhibit 2, Form

Franchise Agreement, Section 25.5.)

        18.       The Franchise Agreement shall not be amended or modified in the future unless

such amendment or modification is “executed in writing both by Franchisor and by Franchisee

and Principal Shareholders.” (See Exhibit 2, Form Franchise Agreement, Section 25.6.)

        19.       The Franchise Agreements are governed by Kansas law. (See Exhibit 2, Form

Franchise Agreement, Section 21.2.)

                                                  -6-
DOCS_DE:219666.1 18037/001
        The Defendants’ Breach of the Franchise Agreements

        20.      Beginning in June 2017, the Defendants stopped paying royalties due under the

Franchise Agreements. (See Exhibit 2, Form Franchise Agreement, Section 9.1(b) (requiring

payment of royalties).)

        21.      In January 2018, the Defendants stopped paying advertising and other fees due

under the Franchise Agreements on a majority of the franchises and, eventually, stopped paying

on all of them. (See Exhibit 2, Form Franchise Agreement, Section 9.1(a) and (c) (requiring

payment of advertising and other fees).)

        22.      Despite their non-payment of royalties and advertising and other fees, the

Defendants continued to operate the franchises using the Applebee’s Marks.

        Applebee’s Notice of Default to the Defendants and Extensions of the Cure Period

        23.      On or about September 20, 2017, Applebee’s provided notice to the Defendants of

their material breaches of the Franchise Agreements stemming from their nonpayment of

royalties (the “Notice of Default,” attached hereto as Exhibit 4).       The Notice of Default

informed the Defendants that they were required to cure each default of the Franchise

Agreements by paying “the Overdue Amount within 90 days of receipt of this letter.” The

Notice of Default also specifically stated that “[f]or the restaurants for which RMH does not cure

the default, the franchise agreements for the restaurants will terminate on the 91st day without

further notice, and RMH will be expected to fully comply with its post-termination obligations

under the relevant franchise agreement(s).” (See Exhibit 4, Notice of Default (emphasis added).)

        24.      The Defendants did not cure any of the defaults with regard to the Franchise

Agreements within the initial 90-day period specified in the Notice of Default.

        25.      On December 18, 2017, shortly before the initial cure period expired under the

Notice of Default, Applebee’s extended it for another 30 days in the hope an amicable resolution
                                               -7-
DOCS_DE:219666.1 18037/001
could be achieved. Specifically, Applebee’s notified the Defendants in the December 2017 letter

that “without waiver of our rights and remedies, we are amenable to extend your cure period

from the restaurants listed on the attached schedule by an additional 30 days to January 22,

2018.” (See December 18, 2017 Extension Letter (emphasis in original), attached hereto as

Exhibit 5.)

        26.      Rather than cure the defaults, the Defendants, as noted above, compounded the

defaults in January 2018 when the Defendants stopped paying advertising and other fees due

under the Franchise Agreements.

        27.      The time to cure the Defendants’ defaults were extended again by Applebee’s on

January 19, 2018, February 8, 2018, February 26, 2018, March 12, 2018 and April 9, 2018

(“Additional Extension Letters,” attached hereto as Exhibits 6-10). Each of the Additional

Extension Letters extended the time to cure the defaults using the same language as the

December 2017 letter. Each of the extension letters tied back to the September 2017 original

Notice of Default so that at the end of the extended cure period - which had never been

interrupted or previously lapsed - the Franchise Agreements would expire automatically and

without further notice at the end of the extended cure period.

        28.      On April 16, 2018, after Applebee’s attempted numerous times to resolve the

situation, Applebee’s reminded the Defendants by letter of their failure to respond to Applebee’s

latest counter-proposal in March 2018 and stressed the urgency of the matter and the possibility

of litigation.     (See April 16, 2018 Letter, attached hereto as Exhibit 11.)      Specifically,

Applebee’s letter provided that Defendants’ “past assurances that RMH and ACON intend to

move forward expeditiously appear questionable at this point.       We have no choice but to

interpret any further delay as an indication that RMH and ACON do not consider this matter to



                                               -8-
DOCS_DE:219666.1 18037/001
be a priority. At this point, we are considering all of our legal options in the resolution of this

matter, including, without limitation, litigation.”

        29.      Also on April 16, 2018, Applebee’s sent the Defendants a separate notice that

provided for the last extension of the cure period, setting April 26, 2018, as the deadline for cure

(“Last Extension Letter,” attached hereto as Exhibit 12.)

        Pre-Petition Termination of the Franchise Agreements

        30.      The Defendants did not cure any of the defaults by April 26, 2018. Accordingly,

the Franchise Agreements terminated the next day, April 27, 2018, pursuant to their own terms

and the previously issued Notice of Default, which satisfies the written notice requirement in

Section 19.1(a) of the Franchise Agreements.

        31.      Through April 2018, the Defendants owe Applebee’s at least $12,161,823 in

unpaid royalties and fees with regard to all franchises and there are payment defaults as to each

Franchise Agreement.

        32.      The Defendants filed its List of 30 Largest Unsecured Claims [Dkt. No. 28] in the

Cases. Defendants list Applebee’s as having an unsecured claim of $14,276,476.40. Further,

Defendants have not made or offered to escrow any payments to Applebee’s related to the post-

petition benefits they are receiving from continued use of the market and benefit and profits

therefrom.

        33.      Although the Defendants repeatedly ignored their fundamental obligation under

the Franchise Agreements to pay basic royalties and advertising and other fees to Applebee’s, on

April 25, 2018, Applebee’s notified the Defendants that Applebee’s agreed to forbear from

taking any further enforcement actions against the Defendants until May 8, 2018 (“Forbearance

Notice,” attached hereto as Exhibit 13.) This Forbearance Notice specifically provided that

“Applebee’s agrees that it will forbear from taking any further actions against you or the
                                                 -9-
DOCS_DE:219666.1 18037/001
Franchise Restaurants, whether at law or in equity, to enforce our rights and remedies against

you or the Franchise Restaurants, under or in connection with the franchise agreements, until

May 8, 2018.”

        34.      The Forbearance Notice was necessary to allow Applebee’s to prepare to

potentially take over RMH Restaurants. However, the Forbearance Notice also specifically

notified the Defendants that “[t]his agreement to forbear is not an extension of the cure

periods referred to in prior Notices, which have already expired.”

        35.      The forbearance regarding taking action against the Defendants, which was

effective on April 27, 2018 (the day the Franchise Agreements terminated), expired on May 7,

2018, pursuant to the terms of the Forbearance Notice. As a result, as of 12:01 a.m. on May 8,

2018, the Defendants were required to comply with certain post-termination obligations under

the Franchise Agreements, including ceasing operation of the RMH Restaurants, ceasing the use

of Applebee’s Marks, and either de-identifying the RMH Restaurants or complying with

Applebee’s right, if exercised under the Franchise Agreements, to assign any real-estate leases

for and surrender the premises of any leased RMH Restaurants.

        The Defendants’ Failure to Comply with their Post-Termination Obligations and
        Applebee’s Damages

        36.      The Defendants have failed to comply with their post-termination obligations

under each of the Franchise Agreements and, without limitation, have not ceased operation of the

franchises, ceased use of Applebee’s Marks, or de-identified the operating restaurants.

        37.      In addition to the non-payment of royalties and advertising and other fees,

between about June 2017 and April 2018, the Defendants unilaterally closed 15 RMH

Restaurants across several states (the “Closed franchises”) without Applebee’s consent, and prior

to the end of the term of the relevant Franchise Agreements. The Defendants stopped paying, or


                                              - 10 -
DOCS_DE:219666.1 18037/001
had already stopped paying, royalties and/or advertising and other fees due under the Franchise

Agreements for the Closed franchises.

           38.    At no point did Applebee’s waive or otherwise consent to the Defendants’

unilateral closure of any of the Closed franchises, or the non-payment of royalties and

advertising and other fees under the Franchise Agreements.

           39.    As a result of the Defendants’ improper closure of the Closed franchises, the

Defendants breached the Franchise Agreements for the Closed franchises and have deprived

Applebee’s of the royalties and other fees it would have received for the balance of the term of

the Franchise Agreements.

           40.    As a result of the Defendants’ improper closure of the Closed franchises,

Applebee’s has been damaged and suffered lost royalties and advertising fees, and is continuing

to suffer, and will suffer, lost future royalties and advertising fees of approximately $10,209,000.

The Defendants are liable for these damages and Applebee's reserves all rights to file a proof of

claim for these amounts and other rights.

           41.    The total damages suffered by Applebee’s, as a result of the Defendants’

improper closure of the Closed franchises and unpaid royalties, advertising and other fees, are as

follows:

                            Damage                                                 Amount
 Unpaid Royalties and Fees (All RMH Restaurants)                                 $12,161,823
 Lost Future Royalties and Fees (Closed franchises)                              $10,209,000

 TOTAL                                                                           $23,370,823

           Applebee's reserves all rights to assert a proof of claim for these damages and other

 rights.




                                                  - 11 -
DOCS_DE:219666.1 18037/001
                             Applebee’s Exercise of its Post-Termination Rights

        42.      On May 7, 2018, Applebee’s, as a courtesy to Defendants, made a telephone call

to Defendants and advised them of Applebee’s intention to take back the RMH Restaurants in

Texas and Arizona.

        43.      On May 8, 2018, after receiving the telephone call from Applebee’s on May 7,

2018, the Defendants commenced the Cases under chapter 11 of the United States Bankruptcy

Code (the “Petition Date”).

        44.      Also on May 8, 2018, Applebee’s delivered a letter to the Defendants to

reconfirm and make clear that the time to cure the defaults with respect to the Franchise

Agreements expired on April 26, 2018 and the Franchise Agreements were automatically

terminated on April 27, 2018 pursuant to the Notice of Default previously sent to the Defendants

on September 20, 2017. (See Termination Confirmation Letter, attached hereto as Exhibit 14.)

The letter further provided that, with respect to the RMH Restaurants in Arizona and Texas,

Applebee’s exercised all of its post-termination rights under Section 19.4(f) of the Franchise

Agreements, including requiring the underlying leases be assigned to Applebee’s so that

Applebee’s can take control of those restaurants.

        45.      Applebee’s delivered a separate letter to the Defendants on May 8, 2018, wherein

Applebee’s agreed to forbear from enforcing its termination rights with the RMH Restaurants,

other than the Arizona and Texas RMH Restaurants, until May 20, 2018 (“May Forbearance

Notice,” attached hereto as Exhibit 15). This letter, like the previously issued Forbearance

Notice, provided that “[t]his agreement to forbear is not an extension or a restarting of the prior

cure period referred to in prior Notices, which has already expired, nor is it a new cure period.”

Like the Forbearance Notice, this forbearance was issued, for logistical reasons, to allow



                                                - 12 -
DOCS_DE:219666.1 18037/001
Applebee’s to prepare to take over the remaining RMH Restaurants over time. That forbearance

period has now expired and has not been further extended.

        46.      On May 16, 2018, Applebee’s filed its Motion to Modify the Automatic Stay

[Dkt. No. 91] (the “Stay Relief Motion”). The Stay Relief Motion remains pending and is

incorporated by reference herein.

        47.      On May 23, 2018, the Court held a telephonic hearing to address scheduling of

Applebee’s Stay Relief Motion.        At the hearing, the Court orally ordered Applebee’s to

commence an adversary proceeding to seek the relief requested in the Stay Relief Motion.

However, the Court did not require Applebee’s to withdraw its Stay Relief Motion and

Applebee's reserves all rights as to its pending Stay Relief Motion.

             COUNT I - DECLARATORY JUDGMENT THAT THE FRANCHISE
          AGREEMENTS ARE NOT PROPERTY OF THE ESTATES BASED ON THEIR
                         TERMINATION AS OF APRIL 27, 2018

        48.      Applebee’s repeats and restates the allegations set forth in the foregoing

paragraphs of this Complaint as if set forth fully herein.

        49.      Pursuant to the Notice of Default and the Last Extension Letter sent to the

Defendants, the deadline for the Defendants to cure their monetary defaults under the Franchise

Agreements expired on April 26, 2018. No extended or new cure period was granted.

        50.      Applebee’s provision of a short-term forbearance to allow for an orderly

transition of the RMH Restaurants to corporate operations to make sure customers have access to

the Applebee’s dining experience uninterrupted at their local location is not a further cure period.

        51.      Defendants did not cure their monetary defaults by April 26, 2018.

        52.      As a result, all of the Franchise Agreements for the Defendants’ restaurants

terminated the day after the cure period expired, on April 27, 2018, by their own terms and


                                                - 13 -
DOCS_DE:219666.1 18037/001
pursuant to the Notice of Default, which satisfies the written notice requirement in Section

19.1(a) of the Franchise Agreements.

        53.      Thus, Defendants’ rights to operate as a franchisee at each and every RMH

Restaurant expired with the termination of the Franchise Agreements on April 27, 2018.

        54.      Accordingly, on the Petition Date, the Defendants’ did not have a legal or

equitable interest in the Franchise Agreements, and, thus, the Franchise Agreements are not

property of the estates pursuant to 11 U.S.C. § 541.

        55.      Any complaints of the Defendants regarding the Applebee’s system or other

disputes are no excuse to the Defendants’ willful non-payment and other defaults under the

Franchise Agreements and applicable law nor are they are valid defense to the termination or a

grounds for ongoing infringement of Applebee's Marks.

        56.      Any complaints of the Defendants about any ongoing discussions or

communications before or after the termination was effective are not a valid defense to the

termination or a grounds for ongoing infringement of Applebee’s Marks.

        THEREFORE, this Court should find and declare that the Franchise Agreements were

terminated as of April 27, 2018 and, thus, are not property of the Defendants’ bankruptcy estates.

            COUNT II - DECLARATORY JUDGMENT AS TO APPLEBEE’S TIMELY
           EXERCISED RIGHT TO TAKE CONTROL OF THE TEXAS AND ARIZONA
                                RMH RESTAURANTS

        57.      Applebee’s repeats and restates the allegations set forth in the foregoing

paragraphs of this Complaint as if set forth fully herein.

        58.      Section 19.4(f) of the Franchise Agreements provide Applebee’s with the right,

upon written notice to the Defendants within 30 days of the termination of the Franchise

Agreements, to require the Defendants to assign the leases of the RMH Restaurants to

Applebee’s and immediately surrender possession of the RMH Restaurants to Applebee’s.
                                                - 14 -
DOCS_DE:219666.1 18037/001
        59.      On May 7, 2018, Applebee’s advised the Defendants by telephone call of

Applebee’s election to take back RMH Restaurants in Texas and Arizona.

        60.      Also, on May 8, 2018, Applebee’s also provided Defendants written confirmation

notice in the Termination Confirmation Letter of its intention to take control of the RMH

Restaurants in Texas and Arizona.

        61.      Further, by filing this Complaint, Applebee’s hereby advises Defendants of

Applebee’s election to take back the specified RMH Restaurants located in Arizona and Texas,

as attached in Exhibit 16 hereto, including having Defendants assign the leases for the RMH

Restaurants to Applebee’s and surrender the premises and restaurant contents for those RMH

Restaurants.

        62.      Applebee’s is prepared to pay for the fair value of the equipment, food stuffs and

other personal property at the RMH Restaurants pursuant to the procedures set forth in the

Franchise Agreements.

        THEREFORE, the Court should find and declare that Applebee’s properly and timely

exercised its right to take control of the Arizona and Texas RMH Restaurants pursuant to Section

19.4(f) of the Franchise Agreements.3

            COUNT III - DECLARATORY JUDGMENT AS TO APPLEBEE’S TIMELY
             EXERCISED RIGHT TO TAKE CONTROL OF THE REMAINING RMH
                                  RESTAURANTS

        63.      Applebee’s repeats and restates the allegations set forth in the foregoing

paragraphs of this Complaint as if set forth fully herein.

        64.      Section 19.4(f) of the Franchise Agreements provide Applebee’s with the right,

upon written notice to the Defendants within 30 days of the termination of the Franchise

3
    Applebee’s seeks stay relief in its pending Stay Relief Motion to enforce this exercised right against the
    Defendants in another forum.

                                                    - 15 -
DOCS_DE:219666.1 18037/001
Agreements, to require the Defendants to assign the leases of the RMH Restaurants to

Applebee’s and immediately surrender possession of the RMH Restaurants to Applebee’s.

        65.      By filing this Complaint, Applebee’s hereby advises Defendants Applebee’s

election to take back the RMH Restaurants listed on Exhibit 17 hereto (the “Remaining RMH

Restaurants”), including having Defendants assign the leases for the Remaining RMH

Restaurants to Applebee's and surrender the premises for the Remaining RMH Restaurants.

        66.      Applebee’s is prepared to pay for the fair value of the equipment, food stuffs and

other personal property at the RMH Restaurants pursuant to the procedures set forth in the

Franchise Agreements.

        67.      Applebee’s has elected to not exercise its post-termination right to take control

over the Defendants’ Closed franchises.

        68.      Applebee's has also elected to not exercise its post-termination right to take

control over the currently operating RMH Restaurants set forth on Exhibit 18 hereto and,

therefore, those restaurants need to immediately de-affiliate from using the Applebee's Marks.

        THEREFORE, the Court should find and declare that Applebee’s properly and timely

exercised its right to take control of the Remaining RMH Restaurants pursuant to Section 19.4

and other application provisions of the Franchise Agreements.4

              COUNT IV - DECLARATORY JUDGMENT AS TO APPLEBEE’S POST-
                                TERMINATION RIGHTS

        69.      Applebee’s repeats and restates the allegations set forth in the foregoing

paragraphs of this Complaint as if set forth fully herein.




4
    Applebee’s seeks stay relief in its pending Stay Relief Motion to enforce this exercised right against the
    Defendants in another forum.

                                                    - 16 -
DOCS_DE:219666.1 18037/001
        70.      Section 19 of the Franchise Agreements provide Applebee’s with certain rights

following termination of the Franchise Agreements, including requiring the Defendants to de-

affiliate the RMH Restaurants, requiring assignment of the leases of the RMH Restaurants to

Applebee’s and compelling the Defendants to sell their inventory, equipment and fixtures to

Applebee’s.

        71.      Given that the Franchise Agreements terminated on April 27, 2018, Applebee’s

currently has a right to enforce its post-termination rights under the Franchise Agreements.

        72.      To the extent that Bank of America as Administrative Agent may have a lien on

the leases of the RMH Restaurants or the Defendants’ inventory, equipment or fixtures, those

rights will pass-through the Cases and any dispute between the Administrative Agent and

Applebee’s regarding their respective rights in the leases, inventory, equipment and fixtures may

be resolved in another forum or settled.

        THEREFORE, the Court should find and declare that Applebee’s currently has a right to

enforce its post-termination rights pursuant Section 19 of the Franchise Agreements, including

requiring the Defendants to de-affiliate the RMH Restaurants, requiring assignment of the leases

of the RMH Restaurants to Applebee’s and compelling the Defendants to sell their inventory,

equipment and fixtures to Applebee’s.5

                                        REQUEST FOR RELIEF

        WHEREFORE, Plaintiff Applebee’s prays for relief and respectfully requests that the

Court enter declaratory judgments in its favor as follows:

        (a)      Declaring that the Franchise Agreements were terminated as of April 27, 2018

and, thus, are not property of the Defendants’ bankruptcy estates;


5
    Applebee’s seeks stay relief in its pending Stay Relief Motion to enforce these post-termination rights against
    the Defendants in another forum.
                                                      - 17 -
DOCS_DE:219666.1 18037/001
        (b)      Declaring that Applebee’s properly and timely, including by filing this Complaint,

exercised its right to take control of the Arizona and Texas RMH Restaurants pursuant to Section

19.4(f) of the Franchise Agreements;

        (c)      Declaring that Applebee’s properly and timely, including by filing this Complaint,

exercised its right to take control of the Remaining RMH Restaurants pursuant to Section 19.4

and other application provisions of the Franchise Agreements;

        (d) Declaring that Applebee’s currently has a right to enforce its post-termination rights

pursuant Section 19 of the Franchise Agreements, including requiring the Defendants to de-

affiliate the RMH Restaurants, requiring assignment of the leases of the RMH Restaurants to

Applebee’s and compelling the Defendants to sell their inventory, equipment and fixtures to

Applebee’s; and

        (e) Granting Applebee’s such other and further relief as the Court finds just and proper.


Dated: May 25, 2018                               PACHULSKI STANG ZIEHL & JONES LLP

                                                  /s/ Laura Davis Jones
                                                  Laura Davis Jones (DE Bar No. 2436)
                                                  Timothy P. Cairns (DE Bar No. 4228)
                                                  919 N. Market Street, 17th Floor
                                                  P.O. Box 8705
                                                  Wilmington, DE 19899-8705 (Courier 19801)
                                                  Telephone: (302) 652-4100
                                                  Facsimile: (302) 652-4400
                                                  Email: ljones@pszjlaw.com
                                                         tcairns@pszjlaw.com
                                                   -and-




                                                - 18 -
DOCS_DE:219666.1 18037/001
                             DENTONS US LLP
                             Joel Siegel (Admitted Pro Hac Vice)
                             Samuel Maizel (Admitted Pro Hac Vice )
                             601 S. Figueroa Street
                             Suite 2500
                             Los Angeles, California
                             Telephone: 213-623-9300
                             Facsimile: 213-623-9924
                             E-mail: joel.siegel@dentons.com
                                     samuel.maizel@dentons.com

                             -and-

                             DENTONS US LLP
                             Robert Richards (Admitted Pro Hac Vice)
                             Geoffrey Miller (Admitted Pro Hac Vice)
                             233 South Wacker Drive
                             Suite 5900
                             Chicago, Illinois 60606
                             Telephone: 312-876-8000
                             Facsimile: 312-876-7934
                             E-mail: robert.richards@dentons.com
                                     geoffrey.miller@dentons.com

                             Counsel to Dine Brands Global Inc., Applebee’s
                             Restaurants LLC and Applebee’s Franchisor
                             LLC




DOCS_DE:219666.1 18037/001
